
Per Curiam.
*278In these Anders* appeals, we affirm the orders revoking Appellant's probation and imposing sentence. However, we remand for correction of the written orders of revocation to specify the conditions Appellant was found to have violated. See Davis v. State , 218 So.3d 507 (Fla. 1st DCA 2017) (affirming revocation of probation in Anders appeal but remanding for court to enter written revocation order specifying conditions of probation violated). Appellant need not be present. See Williams v. State , 145 So.3d 984 (Fla. 1st DCA 2014).
AFFIRMED and REMANDED .
Roberts, Wetherell, and Makar, JJ., concur.

Anders v. California , 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

